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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Kristin A. Zilberstein, Esq. (SBN: 200041)
 Jennifer R. Bergh, Esq. (SBN 305219)
 Adam P. Thursby, Esq. (SBN 318465)
 GHIDOTTI BERGER
 1920 Old Tustin Ave.
 Santa Ana, CA 92705
 Ph: (949) 427-2010 ext. 1010
 Fax: (949) 427-2732
 kzilberstein@ghidottiberger.com
 the




     Movant appearing without an attorney
     Attorney for Movant

                                          UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA - LOS  of DIVISION
                                                                     NameANGELES    DIVISION

 In re:                                                                    CASE NO.: 2:17-bk-11998-SK
  Donald Roy Otto                                                          CHAPTER: 13

                                                                                    NOTICE OF MOTION AND MOTION
                                                                                   FOR RELIEF FROM THE AUTOMATIC
                                                                                      STAY UNDER 11 U.S.C. § 362
                                                                                     (with supporting declarations)
                                                                                           (REAL PROPERTY) AMENDED
                                                                                 01/30/2019
                                                                           DATE: 01/03/2019
                                                                           TIME: 8:30AM

                                                             Debtor(s).    COURTROOM: 1575

 Movant: U.S. Bank Trust National Association, as Trustee of the Chalet Series III Trust, its successors and/or
         assignees


1. Hearing Location:
        255 East Temple Street, Los Angeles, CA 90012                                   411 West Fourth Street, Santa Ana, CA 92701
        21041 Burbank Boulevard, Woodland Hills, CA 91367                               1415 State Street, Santa Barbara, CA 93101
        3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.


        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 12/26/2018                                                             Ghidotti Berger
                                                                                  Printed name of law firm (if applicable)

                                                                                  Kristin A. Zilberstein, Esq.
                                                                                  Printed name of individual Movant or attorney for Movant



                                                                                  /s/ Kristin A. Zilberstein
                                                                                  _____________________________________________
                                                                                  Signature of individual Movant or attorney for Movant




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             MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY
1. Movant is the:
            Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
            the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
            Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
            mortgage or deed of trust) or (2) is the assignee of the beneficiary.
            Servicing agent authorized to act on behalf of the Holder or Beneficiary.
            Other (specify):


2. The Property at Issue (Property):

    a. Address:

         Street address: 18327 Cypress St.
         Unit/suite number:
         City, state, zip code: Covina, CA 91723

    b. Legal description, or document recording number (including county of recording), as set forth in Movant’s deed of
       trust (attached as Exhibit 1   ):

3. Bankruptcy Case History:

    a. A     voluntary     involuntary bankruptcy petition under chapter                           7       11        12       13
       was filed on (date) 02/20/2017 .

    b.         An order to convert this case to chapter                7       11       12        13 was entered on (date)                    .
    c.         A plan, if any, was confirmed on (date) 07/26/2017 .

4. Grounds for Relief from Stay:

    a.         Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
         (1)         Movant’s interest in the Property is not adequately protected.
               (A)       Movant’s interest in the Property is not protected by an adequate equity cushion.
               (B)       The fair market value of the Property is declining and payments are not being made to Movant
                         sufficient to protect Movant’s interest against that decline.
               (C)       Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                         obligation to insure the collateral under the terms of Movant’s contract with the Debtor.
         (2)         The bankruptcy case was filed in bad faith.
               (A)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                         commencement documents.
               (B)       The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
               (C)       A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                         filing this bankruptcy case.
               (D)       Other bankruptcy cases have been filed in which an interest in the Property was asserted.
               (E)       The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                         and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
               (F)       Other (see attached continuation page).


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          (3)         (Chapter 12 or 13 cases only)
                (A)       All payments on account of the Property are being made through the plan.
                              Preconfirmation      Postconfirmation plan payments have not been made to the chapter 12
                          trustee or chapter 13 trustee.

                (B)       Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                          been made to Movant.
          (4)         The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.

          (5)         The Movant regained possession of the Property on (date)                                   ,
                      which is    prepetition   postpetition.

          (6)         For other cause for relief from stay, see attached continuation page.

     b.         Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
                § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

     c.         Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
                30 days after the court determined that the Property qualifies as “single asset real estate” as defined in
                11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.

     d.         Pursuant to 11 U.S.C. § 362(d)(4), the Debtor’s filing of the bankruptcy petition was part of a scheme to delay,
                hinder, or defraud creditors that involved:
          (1)         The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                      court approval; or
          (2)         Multiple bankruptcy cases affecting the Property.

5.        Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.         These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                been entitled to relief from the stay to proceed with these actions.

     b.         Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _____.

     c.         Other (specify):



6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
   motion)
     a. The REAL PROPERTY DECLARATION on page 6 of this motion.
     b.         Supplemental declaration(s).
     c.         The statements made by Debtor under penalty of perjury concerning Movant’s claims and the Property as set
                forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the case
                commencement documents are attached as Exhibit          .
     d.         Other:
                Deed of Trust as Exhibit 1, Assignments as Exhibit 2, Note as Exhibit 3, and Post-petition Payment
                History as Exhibit 4

7.        An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1. Relief from the stay is granted under:                11 U.S.C. § 362(d)(1)             11 U.S.C. § 362(d)(2)             11 U.S.C. § 362(d)(3).

2.       Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
         remedies to foreclose upon and obtain possession of the Property.

3.       Movant, or its agents, may, at its option, offer, provide and enter into a potential forebearance agreement, loan
         modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
         servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.

4.       Confirmation that there is no stay in effect.

5.       The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
         enforce its remedies regarding the Property shall not constitute a violation of the stay.

6.       The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
         the same terms and conditions as to the Debtor.

7.       The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

8.       A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
         of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
             without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
             compliance with applicable nonbankruptcy law.

9.       Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
         governing notices of interests or liens in real property, the order is binding in any other case under this title
         purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
         except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
         circumstances or for good cause shown, after notice and hearing.

10.      The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
         interest in the Property for a period of 180 days from the hearing of this Motion:
              without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
              compliance with applicable nonbankruptcy law.

11.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
              without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
              compliance with applicable nonbankruptcy law.

12.      Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
         Code § 2920.5(c)(2)(C).
13.      If relief from stay is not granted, adequate protection shall be ordered.

14.      See attached continuation page for other relief requested.

      Date: 12/26/2018                                                            Ghidotti Berger
                                                                                 Printed name of law firm (if applicable)
                                                                                 Kristin A. Zilberstein, Esq.
                                                                                 Printed name of individual Movant or attorney for Movant
                                                                                 /s/ Kristin A. Zilberstein
                                                                                 Signature of individual Movant or attorney for Movant


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                                                 REAL PROPERTY DECLARATION

I, (print name of Declarant) Mike Egan                                                                                          , declare:


1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding Movant’s interest in the real
   property that is the subject of this Motion (Property) because (specify):

    a.         I am the Movant.

    b.         I am employed by Movant as (state title and capacity):


    c.         Other (specify): Bankrupcy Asset Manager for SN Servicing Corporation servicer for Movant

2. a.          I am one of the custodians of the books, records and files of Movant that pertain to loans and extensions of
               credit given to Debtor concerning the Property. I have personally worked on the books, records and files, and
               as to the following facts, I know them to be true of my own knowledge or I have gained knowledge of them
               from the business records of Movant on behalf of Movant. These books, records and files were made at or
               about the time of the events recorded, and which are maintained in the ordinary course of Movant’s business
               at or near the time of the actions, conditions or events to which they relate. Any such document was
               prepared in the ordinary course of business of Movant by a person who had personal knowledge of the event
               being recorded and had or has a business duty to record accurately such event. The business records are
               available for inspection and copies can be submitted to the court if required.

    b.         Other (see attached):


3. The Movant is:

    a.         Holder: Movant has physical possession of a promissory note that (1) names Movant as the payee under the
               promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer. A true and correct
               copy of the note, with affixed allonges/indorsements, is attached as Exhibit 3     .
    b.         Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property
               (e.g.,mortgage or deed of trust) or (2) is the assignee of the beneficiary. True and correct copies of the
               recorded security instrument and assignments are attached as Exhibit 1,2 .
    c.         Servicing agent authorized to act on behalf of the:
                    Holder.
                    Beneficiary.
    d.         Other (specify):

4. a.       The address of the Property is:
            Street address: 18327 Cypress St.
            Unit/suite no.:
            City, state, zip code: Covina, CA 91723

    b. The legal description of the Property or document recording number (including county of recording) set forth in the
       Movant’s deed of trust is:
         20071289193, Los Angeles County, CA




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5. Type of property (check all applicable boxes):

     a.          Debtor’s principal residence                                b.            Other residence
     c.          Multi-unit residential                                      d.            Commercial
     e.          Industrial                                                  f.            Vacant land
     g.          Other (specify):

6. Nature of the Debtor’s interest in the Property:

    a.         Sole owner
    b.         Co-owner(s) (specify):
    c.         Lienholder (specify):
    d.         Other (specify):
    e.         The Debtor           did       did not list the Property in the Debtor’s schedules.
    f.         The Debtor acquired the interest in the Property by                        grant deed         quitclaim deed        trust deed.
               The deed was recorded on (date) 05/29/2007                    .

7. Movant holds a      deed of trust                   judgment lien              other (specify)
   that encumbers the Property.
    a.         A true and correct copy of the document as recorded is attached as Exhibit 1                            .
    b.         A true and correct copy of the promissory note or other document that evidences the Movant’s claim is
               attached as Exhibit 3     .
    c.         A true and correct copy of the assignment(s) transferring the beneficial interest under the note and deed of
               trust to Movant is attached as Exhibit 2   .

8. Amount of Movant’s claim with respect to the Property:
                                                                                 PREPETITION             POSTPETITION                   TOTAL
    a.      Principal:                                                      $                           $                         $ 265,343.66
    b.      Accrued interest:                                               $                           $                         $ 22,699.22
    c.      Late charges                                                    $                           $                         $ 481.95
    d.      Costs (attorney’s fees, foreclosure fees, other
            costs):                                                         $                           $                         $ 1,223.37
    e.      Advances (property taxes, insurance):                           $                           $                         $ 2,589.59
    f.      Less suspense account or partial balance paid:                  $[                      ]   $[                    ]   $[298.92       ]
    g.      TOTAL CLAIM as of (date):                                       $                           $                         $ 292,038.87
    h.          Loan is all due and payable because it matured on (date)

9. Status of Movant’s foreclosure actions relating to the Property (fill the date or check the box confirming no such action
   has occurred):
    a. Notice of default recorded on (date)                                 or         none recorded.
    b. Notice of sale recorded on (date)                               or        none recorded.
    c.    Foreclosure sale originally scheduled for (date)                                  or   none scheduled.
    d. Foreclosure sale currently scheduled for (date)                                     or    none scheduled.
    e. Foreclosure sale already held on (date)                                    or      none held.
    f.    Trustee’s deed upon sale already recorded on (date)                                    or      none recorded.



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10. Attached (optional) as Exhibit       is a true and correct copy of a POSTPETITION statement of account that
    accurately reflects the dates and amounts of all charges assessed to and payments made by the Debtor since the
    bankruptcy petition date.

11.          (chapter 7 and 11 cases only) Status of Movant’s loan:
      a. Amount of current monthly payment as of the date of this declaration: $                                                    for the month of
                         20 .
      b. Number of payments that have come due and were not made:                                  . Total amount: $
      c.     Future payments due by time of anticipated hearing date (if applicable):
             An additional payment of $                          will come due on (date)              , and on the         day
             of each month thereafter. If the payment is not received within       days of said due date, a late charge of
             $                        will be charged to the loan.

      d. The fair market value of the Property is $                                          , established by:
             (1)       An appraiser’s declaration with appraisal is attached as Exhibit                       .
             (2)       A real estate broker or other expert’s declaration regarding value is attached as Exhibit                             .
             (3)       A true and correct copy of relevant portion(s) of the Debtor’s schedules is attached as Exhibit                             .
             (4)       Other (specify):


      e. Calculation of equity/equity cushion in Property:

             Based upon      a preliminary title report    the Debtor’s admissions in the schedules filed in this case, the
             Property is subject to the following deed(s) of trust or lien(s) in the amounts specified securing the debt against
             the Property:
                                                                                         Amount as Scheduled               Amount known to
                                                   Name of Holder
                                                                                           by Debtor (if any)            Declarant and Source
           1st deed of trust:                                                            $                               $
           2nd deed of trust:                                                            $                               $
           3rd deed of trust:                                                            $                               $
           Judgment liens:                                                               $                               $
           Taxes:                                                                        $                               $
           Other:                                                                        $                               $
           TOTAL DEBT: $

      f.     Evidence establishing the existence of these deed(s) of trust and lien(s) is attached as Exhibit                                and
             consists of:
             (1)       Preliminary title report.
             (2)       Relevant portions of the Debtor’s schedules.
             (3)       Other (specify):

      g.           11 U.S.C. § 362(d)(1) - Equity Cushion:
                   I calculate that the value of the “equity cushion” in the Property exceeding Movant’s debt and any lien(s)
                   senior to Movant’s debt is $                                          and is        % of the fair market value
                   of the Property.

      h.           11 U.S.C. § 362(d)(2)(A) - Equity:
                   By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
                   Paragraph 11(e) above, I calculate that the Debtor’s equity in the Property is $                                                    .



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      i.        Estimated costs of sale: $                                     (estimate based upon                     % of estimated gross sales
                price)
      j.        The fair market value of the Property is declining because:



12.        (Chapter 12 and 13 cases only) Status of Movant’s loan and other bankruptcy case information:
      a. A 341(a) meeting of creditors is currently scheduled for (or concluded on) the following date: 03/24/2017                                  .
         A plan confirmation hearing currently scheduled for (or concluded on) the following date:               .
         A plan was confirmed on the following date (if applicable): 07/26/2017 .
      b. Postpetition preconfirmation payments due BUT REMAINING UNPAID since the filing of the case:
             Number of         Number of          Amount of Each Payment
                                                                                                 Total
             Payments         Late Charges           or Late Charge
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
           (See attachment for additional breakdown of information attached as Exhibit ______.)
      c.   Postpetition postconfirmation payments due BUT REMAINING UNPAID since the filing of the case:
             Number of         Number of          Amount of each Payment
                                                                                                 Total
             Payments         Late Charges             or Late Charge
                4                                 $ 2,171.73                          $ 8,686.92
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
      d. Postpetition advances or other charges due but unpaid:                                              $
         (For details of type and amount, see Exhibit     )
      e. Attorneys’ fees and costs:                                                                          $ 1,031.00
         (For details of type and amount, see Exhibit _____)
      f.   Less suspense account or partial paid balance:                                                    $[ 298.92                          ]
                                TOTAL POSTPETITION DELINQUENCY:                                              $ 9,419.00
      g. Future payments due by time of anticipated hearing date (if applicable): 01/01/2019 .
         An additional payment of $ 2,171.73                will come due on 01/01/2019 , and on
         the 1st    day of each month thereafter. If the payment is not received by the 15th day of the month, a late
         charge of $96.39              will be charged to the loan.

      h. Amount and date of the last 3 postpetition payments received from the Debtor in good funds, regardless of how
         applied (if applicable):
          $ 2,171.55                    received on (date) 10/29/2018
          $ 2,172.00                    received on (date) 08/24/2018
          $ 2,172.00                    received on (date) 07/30/2018
      i.      The entire claim is provided for in the chapter 12 or 13 plan and postpetition plan payments are delinquent.
              A plan payment history is attached as Exhibit         . See attached declaration(s) of chapter 12 trustee or
              13 trustee regarding receipt of payments under the plan (attach LBR form F 4001-1.DEC.AGENT.TRUSTEE).
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13.        Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s obligation to
           insure the collateral under the terms of Movant’s contract with the Debtor.

14.        The court determined on (date)                  that the Property qualifies as “single asset real estate” as defined in
           11 U.S.C. § 101(51B). More than 90 days have passed since the filing of the bankruptcy petition; more than 30
           days have passed since the court determined that the Property qualifies as single asset real estate; the Debtor
           has not filed a plan of reorganization that has a reasonable possibility of being confirmed within a reasonable
           time; or the Debtor has not commenced monthly payments to Movant as required by 11 U.S.C. § 362(d)(3).

15.        The Debtor’s intent is to surrender the Property. A true and correct copy of the Debtor’s statement of intentions is
           attached as Exhibit           .

16.        Movant regained possession of the Property on (date)                                   , which is        prepetition         postpetition.

17.        The bankruptcy case was filed in bad faith:

      a.        Movant is the only creditor or one of few creditors listed in the Debtor’s case commencement documents.

      b.        Other bankruptcy cases have been filed in which an interest in the Property was asserted.

      c.        The Debtor filed only a few case commencement documents. Schedules and a statement of financial affairs
                (or chapter 13 plan, if appropriate) have not been filed.

      d.        Other (specify):




18.        The filing of the bankruptcy petition was part of a scheme to delay, hinder, or defraud creditors that involved:
           a.         The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                      court approval. See attached continuation page for facts establishing the scheme.
           b.         Multiple bankruptcy cases affecting the Property include:
                1. Case name:
                   Chapter:            Case number:
                   Date dismissed:                    Date discharged:                Date filed:
                   Relief from stay regarding the Property    was      was not granted.

                2. Case name:
                   Chapter:            Case number:
                   Date dismissed:                    Date discharged:                Date filed:
                   Relief from stay regarding the Property    was      was not granted.

                3. Case name:
                   Chapter:            Case number:
                   Date dismissed:                    Date discharged:               Date filed:
                   Relief from stay regarding the Property     was     was not granted.

                See attached continuation page for information about other bankruptcy cases affecting the Property.
                See attached continuation page for facts establishing that the multiple bankruptcy cases were part of a
                scheme to delay, hinder, or defraud creditors.




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2017                                                              Page 10                                          F 4001-1.RFS.RP.MOTION
Case 2:17-bk-11998-SK   Doc 44 Filed 01/04/19 Entered 01/04/19 09:25:39   Desc
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         Case 2:17-bk-11998-SK                   Doc 44 Filed 01/04/19 Entered 01/04/19 09:25:39                                      Desc
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1920 Old Tustin Ave.
Santa Ana, CA 92705

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 01/04/2019 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 debtor counsel: Brad Weil bfweil@justbradlegal.com, brad@ecf.courtdrive.com;frontdeskweillaw@gmail.com
  Trustee: Kathy A Dockery (TR)                  EFiling@LATrustee.com
  US Trustee: United States Trustee (LA)                    ustpregion16.la.ecf@usdoj.gov

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 01/04/2019 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Debtor: Donald Roy Otto 18327 E. Cypress St., Covina, CA 91723 (US MAIL)
Judge: Honorable Sandra R Klein 255 E. Temple Street, Suite 1582 Los Angeles,                                 CA 90012 (US MAIL)



                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 01/04/2019                             Krystle Miller                               /s/ Krystle Miller
 Date                          Printed Name                                                  Signature


        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2017                                                           Page 12                                          F 4001-1.RFS.RP.MOTION
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  EXHIBIT “2”
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  EXHIBIT “3”
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  EXHIBIT “4”
Otto, Donald                                              Case 2:17-bk-11998-SK
                                                                       Interest Method: Doc   44 *Trustee
                                                                                          Arrears   Filed 01/04/19        Enteredpays
                                                                                                             pays Arrears/Borrower   01/04/19
                                                                                                                                        Ongoing*09:25:39      Desc
Loan REDA                                                                  Interest Rate: Main  Document
                                                                                             7.736%               Page 45
                                                                                                    **BK Filed 02/20/2017     of #17-11998
                                                                                                                          - Case 46
    CTED
                                                                        Mo Acc    Cum Acc      Pd                            Escrow      Arrearage Arrearage    Late       Late
Trans Date     Days             Description        Total Pd   Amt Pd     Int         Int    Interest   Principal Escrow Bal Disb/Pmt      Balance   Disb/Pmts Balance   Fees/pmts   Suspense     Prin Bal
                                                                                 27,757.39                        (3,305.30)                  0.00               0.00                   0.00   270,526.38
                      11/01/2015 thru 02/01/2017   30,843.68 30,843.68    0.00   27,757.39 27,757.39   3,086.29 (3,305.30)       0.00    (30843.68) (30843.68)   0.00        0.00       0.00   267,440.09
                      Late Charges                      0.00      0.00    0.00         0.00     0.00       0.00 (3,305.30)       0.00    (31132.85)    (289.17)  0.00        0.00       0.00   267,440.09
                      Corp Adv                          0.00      0.00    0.00         0.00     0.00       0.00 (3,305.30)       0.00    (32263.02)  (1130.17)   0.00        0.00       0.00   267,440.09
                      Escrow Deficiency                 0.00      0.00    0.00         0.00     0.00       0.00 (3,305.30)       0.00    (35568.32)  (3305.30)   0.00        0.00       0.00   267,440.09
                      Escrow Shortage                   0.00      0.00    0.00         0.00     0.00       0.00 (3,305.30)       0.00    (36196.09)    (627.77)  0.00        0.00       0.00   267,440.09
                                                        0.00      0.00    0.00         0.00     0.00       0.00 (3,305.30)       0.00    (36196.09)       0.00   0.00        0.00       0.00   267,440.09
                                                        0.00      0.00    0.00         0.00     0.00       0.00 (3,305.30)       0.00    (36196.09)       0.00   0.00        0.00       0.00   267,440.09
                                                        0.00      0.00    0.00         0.00     0.00       0.00 (3,305.30)       0.00    (36196.09)       0.00   0.00        0.00       0.00   267,440.09
02/21/2017            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (3,498.55)    (193.25)   (36196.09)       0.00   0.00        0.00       0.00   267,440.09
02/28/2017            Ongoing Pmt                   2,136.00      0.00    0.00         0.00     0.00       0.00 (3,498.55)       0.00    (36196.09)       0.00   0.00        0.00   2,136.00   267,440.09
03/09/2017            Tax Disb                          0.00      0.00    0.00         0.00     0.00       0.00 (4,019.95)    (521.40)   (36196.09)       0.00   0.00        0.00   2,136.00   267,440.09
03/21/2017            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (4,213.20)    (193.25)   (36196.09)       0.00   0.00        0.00   2,136.00   267,440.09
03/30/2017      30    03/01/2017                    2,207.88 1,927.73 1,724.10    1,724.10 1,724.10      203.63 (3,933.05)     280.15    (36196.09)       0.00   0.00        0.00   2,136.00   267,236.46
04/18/2017            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (4,126.30)    (193.25)   (36196.09)       0.00   0.00        0.00   2,136.00   267,236.46
04/28/2017      30    04/01/2017                    2,207.98 1,927.73 1,722.78    1,722.78 1,722.78      204.95 (3,846.15)     280.15    (36196.09)       0.00   0.00        0.00   2,136.10   267,031.51
05/23/2017            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (4,015.07)    (168.92)   (36196.09)       0.00   0.00        0.00   2,136.10   267,031.51
05/24/2017      30    05/01/2017                    2,208.98 1,927.73 1,721.46    1,721.46 1,721.46      206.27 (3,734.92)     280.15    (36196.09)       0.00   0.00        0.00   2,137.20   266,825.24
06/19/2017            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (3,903.84)    (168.92)   (36196.09)       0.00   0.00        0.00   2,137.20   266,825.24
06/29/2017      30    06/01/2017                    2,250.00 1,927.73 1,720.13    1,720.13 1,720.13      207.60 (3,623.69)     280.15    (36196.09)       0.00   0.00        0.00   2,179.32   266,617.65
07/18/2017            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (3,792.61)    (168.92)   (36196.09)       0.00   0.00        0.00   2,179.32   266,617.65
07/25/2017      30    07/01/2017                    2,250.00 1,927.73 1,718.80    1,718.80 1,718.80      208.93 (3,512.46)     280.15    (36196.09)       0.00   0.00        0.00   2,221.44   266,408.71
08/18/2017            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (3,681.38)    (168.92)   (36196.09)       0.00   0.00        0.00   2,221.44   266,408.71
08/21/2017      30    08/01/2017                    2,250.66 1,927.73 1,717.45    1,717.45 1,717.45      210.28 (3,401.23)     280.15    (36196.09)       0.00   0.00        0.00   2,264.22   266,198.43
08/25/2017            Arrears                         394.00      0.00    0.00         0.00     0.00       0.00 (3,401.23)       0.00    (35802.09)     394.00   0.00        0.00   2,264.22   266,198.43
09/18/2017            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (3,570.15)    (168.92)   (35802.09)       0.00   0.00        0.00   2,264.22   266,198.43
09/20/2017      30    09/01/2017                    2,250.26 1,927.73 1,716.09    1,716.09 1,716.09      211.64 (3,290.00)     280.15    (35802.09)       0.00   0.00        0.00   2,306.60   265,986.79
                30    10/01/2017                        0.00 1,927.73 1,714.73    1,714.73 1,714.73      213.00 (3,009.85)     280.15    (35802.09)       0.00   0.00        0.00      98.72   265,773.79
09/29/2017            Arrears                       1,067.20      0.00    0.00         0.00     0.00       0.00 (3,009.85)       0.00    (34734.89)   1067.20    0.00        0.00      98.72   265,773.79
10/20/2017            Escrow Refund                    66.60      0.00    0.00         0.00     0.00       0.00 (2,943.25)      66.60    (34734.89)       0.00   0.00        0.00      98.72   265,773.79
10/24/2017            Arrears                       1,067.20      0.00    0.00         0.00     0.00       0.00 (2,943.25)       0.00    (33667.69)   1067.20    0.00        0.00      98.72   265,773.79
11/08/2017            Tax Disb                          0.00      0.00    0.00         0.00     0.00       0.00 (3,491.04)    (547.79)   (33667.69)       0.00   0.00        0.00      98.72   265,773.79
11/21/2017            Arrears                       1,067.20      0.00    0.00         0.00     0.00       0.00 (3,491.04)       0.00    (32600.49)   1067.20    0.00        0.00      98.72   265,773.79
12/07/2017      30    11/01/2017                    2,264.12 1,927.73 1,713.36    1,713.36 1,713.36      214.37 (3,210.89)     280.15    (32600.49)       0.00   0.00        0.00     154.96   265,559.42
12/27/2017            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (3,294.18)     (83.29)   (32600.49)       0.00   0.00        0.00     154.96   265,559.42
12/28/2017            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (3,460.76)    (166.58)   (32600.49)       0.00   0.00        0.00     154.96   265,559.42
12/29/2017            Arrears                       1,067.20      0.00    0.00         0.00     0.00       0.00 (3,460.76)       0.00    (31533.29)   1067.20    0.00        0.00     154.96   265,559.42
01/17/2018            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (3,544.05)     (83.29)   (31533.29)       0.00   0.00        0.00     154.96   265,559.42
01/31/2018            Arrears                       2,134.40      0.00    0.00         0.00     0.00       0.00 (3,544.05)       0.00    (29398.89)   2134.40    0.00        0.00     154.96   265,559.42
02/16/2018            Insurance Disb                    0.00      0.00    0.00         0.00     0.00       0.00 (3,627.34)     (83.29)   (29398.89)       0.00   0.00        0.00     154.96   265,559.42
03/08/2018      30    12/01/2017                    2,250.03 1,927.73 1,711.97    1,711.97 1,711.97      215.76 (3,347.19)     280.15    (29398.89)       0.00   0.00        0.00     197.11   265,343.66
03/09/2018      30    01/01/2018                    2,252.52 1,927.73 1,710.58    1,710.58 1,710.58      217.15 (3,067.04)     280.15    (29398.89)       0.00   0.00        0.00     241.75   265,126.51
                                                   Case 2:17-bk-11998-SK
                                                              Mo Acc Cum Acc Doc Pd
                                                                                  44 Filed 01/04/19 Entered   Escrow 01/04/19
                                                                                                                       Arrearage 09:25:39
                                                                                                                                   Arrearage Desc
                                                                                                                                              Late                         Late
 Trans Date   Days             Description   Total Pd Amt Pd   Int     Int   Main   Document
                                                                              Interest             Page
                                                                                       Principal Escrow Bal46Disb/Pmt
                                                                                                              of 46     Balance    Disb/Pmts Balance                    Fees/pmts Suspense   Prin Bal
03/14/2018     30 02/01/2018                 2,254.26   1,927.73   1,709.18   1,709.18   1,709.18   218.55   (2,786.89)     280.15    (29398.89)      0.00      0.00          0.00  288.13 264,907.96
03/15/2018         Insurance Disb                0.00       0.00       0.00       0.00       0.00     0.00   (2,870.18)     (83.29)   (29398.89)      0.00      0.00          0.00  288.13 264,907.96
03/16/2018         Tax Disb                      0.00       0.00       0.00       0.00       0.00     0.00   (3,417.97)    (547.79)   (29398.89)      0.00      0.00          0.00  288.13 264,907.96
03/29/2018         Arrears                   1,067.20       0.00       0.00       0.00       0.00     0.00   (3,417.97)       0.00    (28331.69)   1067.20      0.00          0.00  288.13 264,907.96
04/04/2018     30 03/01/2018                 2,254.26   1,927.73   1,707.77   1,707.77   1,707.77   219.96   (3,137.82)     280.15    (28331.69)      0.00      0.00          0.00  334.51 264,688.01
04/19/2018         Insurance Disb                0.00       0.00       0.00       0.00       0.00     0.00   (3,221.11)     (83.29)   (28331.69)      0.00      0.00          0.00  334.51 264,688.01
04/25/2018         Arrears                   1,067.20       0.00       0.00       0.00       0.00     0.00   (3,221.11)       0.00    (27264.49)   1067.20      0.00          0.00  334.51 264,688.01
05/08/2018     30 04/01/2018                 2,207.98   1,927.73   1,706.36   1,706.36   1,706.36   221.37   (2,940.96)     280.15    (27264.49)      0.00      0.00          0.00  334.61 264,466.63
05/15/2018         Insurance Disb                0.00       0.00       0.00       0.00       0.00     0.00   (3,024.25)     (83.29)   (27264.49)      0.00      0.00          0.00  334.61 264,466.63
05/23/2018         Arrears                   1,067.20       0.00       0.00       0.00       0.00     0.00   (3,024.25)       0.00    (26197.29)   1067.20      0.00          0.00  334.61 264,466.63
06/06/2018         Insurance Refund             13.44       0.00       0.00       0.00       0.00     0.00   (3,010.81)      13.44    (26197.29)      0.00      0.00          0.00  334.61 264,466.63
06/07/2018     30 05/01/2018                 2,207.98   1,927.73   1,704.93   1,704.93   1,704.93   222.80   (2,730.66)     280.15    (26197.29)      0.00      0.00          0.00  334.71 264,243.83
06/25/2018         Arrears                   1,067.20       0.00       0.00       0.00       0.00     0.00   (2,730.66)       0.00    (25130.09)   1067.20      0.00          0.00  334.71 264,243.83
06/29/2018         LOAN BOARDED SN               0.00       0.00       0.00       0.00       0.00     0.00   (2,730.66)       0.00    (25130.09)      0.00      0.00          0.00  334.71 264,243.83
07/19/2018         Arrears (not rec'd)       1,067.20       0.00       0.00       0.00       0.00     0.00   (2,730.66)       0.00    (24062.89)   1067.20      0.00          0.00  334.71 264,243.83
07/30/2018     30 06/01/2018                 2,172.00   1,927.73   1,703.49   1,703.49   1,703.49   224.24   (2,450.51)     280.15    (24062.89)      0.00      0.00          0.00  298.83 264,019.59
08/12/2018         Late Charge Assess            0.00       0.00       0.00       0.00       0.00     0.00   (2,450.51)       0.00    (24062.89)      0.00    (96.39)       (96.39) 298.83 264,019.59
08/24/2018     30 07/01/2018                 2,172.00   1,927.73   1,702.05   1,702.05   1,702.05   225.68   (2,206.51)     244.00    (24062.89)      0.00    (96.39)         0.00  299.10 263,793.91
08/31/2018         Arrears                   1,132.16       0.00       0.00       0.00       0.00     0.00   (2,206.51)       0.00    (22930.73)   1132.16    (96.39)         0.00  299.10 263,793.91
09/10/2018         FPI                           0.00       0.00       0.00       0.00       0.00     0.00   (2,611.15)    (404.64)   (22930.73)      0.00    (96.39)         0.00  299.10 263,793.91
09/12/2018         Late Charge Assess            0.00       0.00       0.00       0.00       0.00     0.00   (2,611.15)       0.00    (22930.73)      0.00   (192.78)       (96.39) 299.10 263,793.91
09/27/2018         Arrears                   2,066.19       0.00       0.00       0.00       0.00     0.00   (2,611.15)       0.00    (20864.54)   2066.19   (192.78)         0.00  299.10 263,793.91
10/02/2018         FPI                           0.00       0.00       0.00       0.00       0.00     0.00   (2,803.68)    (192.53)   (20864.54)      0.00   (192.78)         0.00  299.10 263,793.91
10/12/2018         Late Charge Assess            0.00       0.00       0.00       0.00       0.00     0.00   (2,803.68)       0.00    (20864.54)      0.00   (289.17)       (96.39) 299.10 263,793.91
10/26/2018         Arrears                   1,160.00       0.00       0.00       0.00       0.00     0.00   (2,803.68)       0.00    (19704.54)   1160.00   (289.17)         0.00  299.10 263,793.91
10/29/2018     30 08/01/2018                 2,171.55   1,927.73   1,700.59   1,700.59   1,700.59   227.14   (2,559.68)     244.00    (19704.54)      0.00   (289.17)         0.00  298.92 263,566.77
11/05/2018         FPI                           0.00       0.00       0.00       0.00       0.00     0.00   (2,752.05)    (192.37)   (19704.54)      0.00   (289.17)         0.00  298.92 263,566.77
11/08/2018         Tax Disb                      0.00       0.00       0.00       0.00       0.00     0.00   (3,309.48)    (557.43)   (19704.54)      0.00   (289.17)         0.00  298.92 263,566.77
                   Reclassify Escrow         3,309.48       0.00       0.00       0.00       0.00     0.00        0.00    3,309.48    (19704.54)      0.00   (289.17)         0.00  298.92 263,566.77
11/12/2018         Late Charge Assess            0.00       0.00       0.00       0.00       0.00     0.00        0.00        0.00    (19704.54)      0.00   (385.56)       (96.39) 298.92 263,566.77
12/04/2018         FPI                           0.00       0.00       0.00       0.00       0.00     0.00     (192.37)    (192.37)   (19704.54)      0.00   (385.56)         0.00  298.92 263,566.77
12/05/2018         Arrears                   1,069.52       0.00       0.00       0.00       0.00     0.00     (192.37)       0.00    (18635.02)   1069.52   (385.56)         0.00  298.92 263,566.77
12/12/2018         Late Charge Assess            0.00       0.00       0.00       0.00       0.00     0.00     (192.37)       0.00    (18635.02)      0.00   (481.95)       (96.39) 298.92 263,566.77
